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                                UNITED STATES DISTRICT COURT
                                                           for the

                                         EASTERN DISTRICT OF WISCONSIN


          UNITED STATES OF AMERICA )
                             V.                         )
                                                         ) Case No. 20-CR-38
                 KELLYL.TURNEY )
                         Defendant                              )


                                ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.


(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
     any change of residence or telephone number.


(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
     the court may impose.


     The defendant must appear at:
                                                                                Place



     on
                                                                Date and Time


     If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.




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                                                      ADDITIONAL CONDITIONS OF RELEASE

              IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:


       ( D ) (6) The defendant is placed in the custody of:
                     Person or organization
                     Address (only if above is an organization)
                     City                    and                  state                     Tel.            No.
       who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notiiy the court
       immediately if the defendant violates a condition of release or is no longer in the custodian's custody.


                                                                                 Signed:
                                                                                                            Cvstodian                     Date
       Cj^") (7) TAe defendant must:
             Qiglj (a) submit to supervision by Pretrial Services and report for supervision as directed.
             ( D ) (b) continue or actively seek employment.
             ( D ) (c) continue or start an education program.
             (D) (d) surrender any passport to:
             ( D ) (e) not obtain a passport or other international travel document. EQ^'te^T'^. £?l5t^~l Cr{~
             (^) (fi abide by the following restrictions on personal association, residence, or travel: Travel restricted to the •^S.of Wisconsin.


             ( D ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                         including:


             ( D ) (h) get medical or psychiatric treatment:


                         You must pay all or part of the cost of the b-eatment based on your ability to pay as determined by the pretrial services office or
                         supervising officer.
             ( D ) (i) not possess a firearm, destructive device, or other weapon.
             ( D ) (j) not use alcohol ( D ) at all ( D ) excessively.
            ( D ) (k) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a
                         licensed medical practitioner.
            ( D ) (1) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used
                         with random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any
                         form of prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the
                        efficiency and accuracy of prohibited substance screening or testing. You must pay all or part of the cost of the program based on
                        your ability to pay as determined by the pretrial services office or supervising officer.
            ( D ) (m) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial semces office
                        or supervising officer. You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial
                        services office or supervising officer.
            ( D ) (n) participate in one of the following location restriction programs and comply with its requirements as directed.
                        ( D ) (i) Curfew. You are restricted to your residence every day ( D ) from to , or ( D ) as
                                      directed by the pretrial services office or supervising ofiBcer; or
                        ( D ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious
                                      services; medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
                                      obligations; or other activities approved in advance by the pretrial services office or supervising officer; or
            ( D ) (o) submit to location monitoring as directed by the pretrial services o£5ce or supervising officer and comply with all of the program
                        requirements and instructions provided. You must pay all or part of the cost of the program based on your ability to pay as
                        determined by the pretrial services office or supervising officer.

            ( D ) (p) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel,
                         including arrests, questioning, or traffic stops.

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                                           ADVICE OF PENALTBES AND SANCTIONS

 TO THE DEFENDANT:

 YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

        Violatiag any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation
 of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in imprisonment,
 a fme, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
 and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
 consecutive (ie., in addition to) to any other sentence you receive.
         It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation; tamper
 with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt to
 intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
 significantly more serious if they involve a killing or attempted killing.
        If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
 you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
        (1) an offense punishable by death, life imprisonment, or ioiprisonment for a term of fifteen years or more - you will be fined
              not more than $250,000 or imprisoned for not more than 10 years, or both;
        (2) an offense punishable by imprisomnent for a term of five years or more, but less than fifteen years - you will be fined not
              more than $250,000 or imprisoned for not more than five years, or both;
        (3) any other felony - you wUl be fined not more than $250,000 or imprisoned not more than two years, or both;
        (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
        A term of imprisonment imposed for failure to appear or surrender will be consecutive to any ofher sentence you receive. In
 addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                 Acknowledgment of the Defendant

       I acknowledge that I am the defendant ia this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set
forth above.




                                                      |%^ Q^Ati^
                                                                                       Defendant's Signature



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                                                                                           City and State




                                             Directions to the United States Marshal

( D ) The defendant is ORDERED released after processing.
( D ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
        has posted bond and/or complied with all other conditions for release. If still in custod^yfEeyefendant must be produced before
        the appropriate judge at the time and place specified.



Date: February 20,2020
                                                                                             ~)j^cer 's Signature




                                                                           James R. S.ickel, U.S. Magistrate Judge
                                                                                      Printed name and title




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